Case 23-13359-VFP              Doc 2159       Filed 09/11/23 Entered 09/11/23 19:00:20                      Desc Main
                                             Document     Page 1 of 6


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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY


 In re:                                                         Chapter 11

 BED BATH & BEYOND INC., et al.,                                Case No. 23-13359 (VFP)
                                                    1
                                         Debtors.               (Jointly Administered)


             NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING ON
                         SEPTEMBER 12, 2023 AT 2:30 P.M. (ET)




 1      The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11
        cases is 650 Liberty Avenue, Union, New Jersey 07083.



 65548/0001-46081059
Case 23-13359-VFP        Doc 2159     Filed 09/11/23 Entered 09/11/23 19:00:20             Desc Main
                                     Document     Page 2 of 6



     I.        MATTERS GOING FORWARD

          1. Confirmation Hearing related to the Amended Joint Chapter 11 Plan of Bed Bath &
             Beyond Inc. and its Debtor Affiliates

                 A. Related Documents

                         •   Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and its
                             Debtor Affiliates [Docket No 1712]

                         •   Amended Disclosure Statement Relating to the Amended Joint
                             Chapter 11 Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates
                             [Docket No. 1713]

                         •   Order (I) (A) Conditionally Approving the Adequacy of the
                             Disclosure Statement, (B) Approving the Solicitation and Notice
                             Procedures with respect to Confirmation of the Plan, (C) Approving
                             the forms of Ballots and Notices in Connection Therewith, (D)
                             Scheduling a Combined Disclosure Statement Approval and Plan
                             Confirmation Hearing and Certain Dates and Deadlines with respect
                             Thereto, and (E) Granting Related Relief, and (II) (A) Extending the
                             Debtors’ Exclusive Periods to File a Chapter 11 Plan and Solicit
                             Acceptances Thereof Pursuant to Section 1121 of the Bankruptcy
                             Code And (B) Granting Related Relief [Docket No. 1716]

                         •   Notice of Filing of Plan Supplement [Docket No. 2133]

                         •   Debtors’ Memorandum of Law in Support of (I) Approval of the
                             Disclosure Statement on a Final Basis and (II) Confirmation of the
                             Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and its Debtor
                             Affiliates [Docket No. 2134]

                         •   Declaration of Holly Etlin in Support of (I) Final Approval of the
                             Disclosure Statement and (II) Confirmation of the Amended Joint
                             Chapter 11 Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates
                             [Docket No. 2139]

                         •   Declaration of Alex Orchowski of Kroll Restructuring Administration
                             LLC Regarding the Solicitation of Votes and Tabulation of Ballots
                             Cast on the Amended Joint Chapter 11 Plan of Bed Bath & Beyond
                             Inc. and its Debtor Affiliates [Docket No. 2140]

                 B. Responses/Objections

                         •   Notice of Bed Bath and Beyond Common Stock Equity Interest
                             Holders’ Motion, Pursuant to 11 U.S.C. § 105(a), Fed. R. Civ. P. 60(b),
                             and Fed. R. Bankr. P. 9024, for an Order Vacating the Order (I) (A)
                             Conditionally Approving the Adequacy of the Disclosure Statement,

                                                   2
 65548/0001-46081059
Case 23-13359-VFP          Doc 2159      Filed 09/11/23 Entered 09/11/23 19:00:20                   Desc Main
                                        Document     Page 3 of 6



                              (B) Approving the Solicitation and Notice Procedures with respect to
                              Confirmation of the Plan, (C) Approving the forms of Ballots and
                              Notices in Connection Therewith, (D) Scheduling a Combined
                              Disclosure Statement Approval and Plan Confirmation Hearing and
                              Certain Dates and Deadlines with respect Thereto, and (E) Granting
                              Related Relief [Docket No. 2068]2

                          •   Limited Objection of the U.S. Securities and Exchange Commission
                              to Final Approval of the Debtors’ Disclosure Statement and
                              Confirmation of the Chapter 11 Plan of Reorganization of Bed Bath
                              and Beyond and its Debtor Affiliates [Docket No 2086]

                          •   Objection of 200-220 West 26 LLC to Final Approval of Disclosure
                              Statement and to Confirmation of Amended Joint Chapter 11 Plan
                              [Docket No. 2090]

                          •   The Safety National Parties’ Limited Objection to Debtors’ Joint
                              Chapter 11 Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates
                              [Docket No. 2099]

                          •   MSC Mediterranean Shipping Company SA’s (I) Notice of Assertion
                              of Setoff and Recoupment Rights and (II) Limited Objection to
                              Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and its
                              Debtor Affiliates [Docket No. 2100]

                          •   Oracle America, Inc.’s Rights Reservation Regarding Debtors’
                              Amended Joint Chapter 11 Plan of Bed Bath & Beyond, Inc. and its
                              Debtor Affiliates [Docket No. 2109]

                          •   City of Philadelphia’s Limited Objection to Confirmation of the Plan
                              [Docket No. 2111]

                          •   Joint Limited Objection of the Texas Taxing Authorities to the
                              Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and its
                              Debtor Affiliates [Docket No. 2112]

                          •   Limited Objection and Reservation of Rights of Google LLC to
                              Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and its
                              Debtor Affiliates [Docket No. 2113]




 2   Pursuant to the Order Regarding Application to Shorten Time Period for Notice, Set Hearing and Limit Notice
     [Docket No. 2084] this motion will be treated as an objection to final approval of the Disclosure Statement
     [Docket No. 1713] and confirmation of the Plan [Docket No. 1712].


                                                       3
 65548/0001-46081059
Case 23-13359-VFP         Doc 2159    Filed 09/11/23 Entered 09/11/23 19:00:20           Desc Main
                                     Document     Page 4 of 6



                         •   Limited Objection of Certain Landlords to Amended Joint Chapter 11
                             Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates [Docket No.
                             2120]

                         •   Limited Objection of the Unites States Trustee to the Amended Joint
                             Chapter 11 Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates
                             [Docket No. 2123]

                         •   Objection of the Chubb Companies to Amended Joint Chapter 11 Plan
                             of Bed Bath & Beyond Inc. and its Debtor Affiliates [Docket No. 2129]

            Status: This matter is going forward with permission of the Court.

           2. Notice of Motion for Relief from Automatic Stay and Brief in Support of Motion for
              Automatic Relief on Behalf of Phyllis Eichner [Docket No. 1925]

                 A. Responses/Objections

                         •   Reservation of Rights of Safety National Casualty Corporation as to
                             Motion for Relief from Automatic Stay on Behalf of Phyllis Eichner
                             [Docket No. 2122]

                         •   Debtors’ Objection to the Motion of Phyllis Eichner to Terminate the
                             Automatic Stay [Docket No. 2126]

            Status: The Debtors requested a modest adjournment of this matter to a date
                    following the Combined Hearing. Movant declined the Debtors’ request
                    for an adjournment and did not respond to the Debtors’ attempt to resolve
                    the request. This matter is going forward with permission of the Court
                    with respect to the Debtors’ adjournment request and, if granted, will be
                    adjourned to a date to be set by the Court.

     II.       RESOLVED AND ADJOURNED MATTERS

           1. Debtors’ Motion for Entry of an Order (I) Authorizing (A) Rejection of Certain
              Unexpired Leases and (B) Abandonment of Any Personal Property, Effective as of the
              Rejection Date and (III) Granting Related Relief [Docket No. 1613]

                 A. Related Documents

                         •   Application for Order Shortening Time [Docket No. 1614]

                         •   Order Shortening Time Period for Notice [Docket No. 1676]

                         •   Order (I) Authorizing (A) Rejection of Certain Unexpired Leases and
                             (B) Abandonment of any Personal Property, Effective as of the
                             Rejection Date and (II) Granting Related Relief [Docket No. 1919]


                                                  4
 65548/0001-46081059
Case 23-13359-VFP        Doc 2159     Filed 09/11/23 Entered 09/11/23 19:00:20           Desc Main
                                     Document     Page 5 of 6



                         •   Debtors’ Reply in Support of Debtors’ Motion for Entry of an Order (I)
                             Authorizing (A) Rejection of Certain Unexpired Leases and (B)
                             Abandonment of Any Personal Property, Effective as of the Rejection
                             Date and (III) Granting Related Relief [Docket No. 2066]

                         •   Stipulation Between Debtor, Oak Street and Nordstrom, Inc. with
                             Respect to Certain Leases in Addison, Texas [Docket No. 2076]

                 B. Responses/Objections

                         •   Ikea Property, Inc.’s Objection to the Debt Debtors’ Motion for Entry
                             of an Order (I) Authorizing (A) Rejection of Certain Unexpired Leases
                             and (B) Abandonment of Any Personal Property, Effective as of the
                             Rejection Date and (III) Granting Related Relief [Docket No. 1879]

                         •   Objection of Nordstrom, Inc. to Debtors’ Motion for Entry of an Order
                             (I) Authorizing (A) Rejection of Certain Unexpired Leases and (B)
                             Abandonment of Any Personal Property, Effective as of the Rejection
                             Date and (III) Granting Related Relief [DKT. 1613] [Docket No. 2146]

            Status: This matter will be further adjourned to a date to be set by the Court solely
                    with respect to the Nordstrom, Inc. lease for the store located at 13900
                    Dallas Parkway, Addison, TX 75240. This matter is resolved in all other
                    respects.




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                                                  5
 65548/0001-46081059
Case 23-13359-VFP       Doc 2159    Filed 09/11/23 Entered 09/11/23 19:00:20         Desc Main
                                   Document     Page 6 of 6



Dated: September 11, 2023
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                                             6
 65548/0001-46081059
